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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 22-7150                                                September Term, 2023
                                                                      1:20-cv-02146-TJK
                                                  Filed On: August 16, 2024 [2070534]
Saad Aljabri, Dr.,

              Appellant

       v.

Mohammed bin Salman bin Abdulaziz al
Saud, et al.,

              Appellees

                                     MANDATE

      In accordance with the judgment of July 9, 2024, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




Link to the judgment filed July 9, 2024
